           Case 1:21-cv-07936-LGS Document 1 Filed 09/23/21 Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                          X
ANDREW MARSHELLO,

                                            Plaintiff,
                                                                  NOTICE OF REMOVAL
       -   against
                                                                  case No. #   2r civ 7396
THE CITY OF NEV/ YORK, NYPD POLICE OFFICER
VARGAS, Tax ID No. 965591, and NYPD POLICE OFFICERS Law Dept. No. 2021-024379
JOHN/JANE DOES NUMBERS 1-10,

                                         Defendants.



TO:    THE I]NITED STATES DISTRICT COURT,
       SOUTHERN DISTRICT OF'NEW YORK

       Defendant, THE CITY OF NEW YORK (the "City"), by and through its attorney, Georgia

M. Pestana, Corporation Counsel of the City of New York, respectfully shows this Court         as


follows:

       1.      On August 24,,2021, Plaintiff commenced this action by filing a Summons and

Complaint in the Supreme Court of the State of New York, County of New York, under Index No.

15792212021, naming the   City, Police Officer Hector Vargas (slhla NYPD POLICE OFFICER

VARGAS, Tax ID No. 965591), and NYPD POLICE OFFICERS JOHN/JANE DOES 1-10 as

defendants therein (hereinafter "Defendants"), and setting forth the claims for relief upon which

the action is allegedly based. See Plaintiff's Summons and Verified Complaint, annexed hereto as

"Exhibit 4."

       2.      Upon information and belief, the City was served with the Summons and Verified

Complaint in the above-entitled action on August 31,2021.
                Case 1:21-cv-07936-LGS Document 1 Filed 09/23/21 Page 2 of 3




           3.     According an affidavit of service uploaded to the New York State Courts Electronic

Filing System docket, Police Officer Vargas was with the Summons and Verified Complaint in

the above-entitled action on September 9,2021.

           4.     The above-captioned action is a civil action of which the.United States District

Court now has original jurisdiction in that      it   includes causes of action which arise under the

Constitution and laws of the United States, pursuant to 28 U.S.C. $ 1331. This action is therefore

removable to the United States District Court without regard to the citizenship or residence of the

parties.

           5.     In the Verified Complaint, Plaintiff brings claims pursuant to 42 U.S.C. $          1983


allcging, inter aliu, federal claims of false arrest, infringement on freedom of speech, malicious

prosecution, excessive force and unreasonable search and seizure, all irt violatiorl        of the First,

Fourth, and Fourteenth Amendments to the Unitetl States Coustitution. See "Exltibit         4." Plailrtiff

also asserts state law claims tor false arrest, false imprisonment, unreasonable search and seizure,

negligence, assault, battery, negligent infliction       of   emotional distress, failure   to   intervene,

malicious prosecution, and negligent hiring retention training and supervision. See id.

           6.     This Notice of Removal is timely because it is being filed within thirty (30) days of

service of the Verified Complaint on the City on or about August 31,2021. See 28 U.S.C. $

1446(b).

           7.     Police Officer Vargas consents to removing this action from Supreme Court of the

State of New York, County of New York, under Index No. 151922/202I,to the Southern District

of New York. See Consent to Removal, annexed hereto as "Exhibit 8."

           8.     The City   will promptly file a copy of this Notice of Removal with the Clerk of the

state court in which the action has been pending.
         Case 1:21-cv-07936-LGS Document 1 Filed 09/23/21 Page 3 of 3



       9.      The City is unaware of any previous application for the relief requested herein.




       WIIEREFORE, the City respectfully requests that the above-captioned action      be removed

from the Supreme Court of the State of New York, County of New York, to the United          States

District Court for the Southern District of New York.



Dated: New York, New York
        September 23,2021



                                             GEORGIA M. PESTANA
                                             Corporation Counsel
                                             of the City of New York
                                             Attorney for Defendant
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                                                        L
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